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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                               :
 MARIBEL RAMIREZ, et al.,                                      :
                                            Plaintiffs,        :
                                                               :   21 Civ. 9109
                            -against-                          :
                                                               :
 HEARST COMMUNICATIONS, INC.,                                  :
                                            Defendant.         :
 ------------------------------------------------------------- X
 MAGDA LOPEZ, individually and on behalf of :
 all others similarly situated,                                :   21 Civ. 9334
                                            Plaintiff(s),      :
                                                               :     ORDER
                            -against-                          :
                                                               :
 HEARST COMMUNICATIONS, INC.,                                  :
                                            Defendant.         X
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the above-captioned cases both involve lawsuits under Puerto Rico’s Right

of Publicity Act against the same defendant. It is hereby

        ORDERED that by November 23, 2021, the parties are directed to file separate letters

stating why the actions should not be consolidated.


Dated: November 16, 2021
       New York, New York
